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                     Exhibit K
                      Case: 1:22-cv-01291 Document #: 1-11 Filed: 03/10/22 Page 2 of 3 PageID #:67
earing Date: No hearing scheduled
ocation: <<CourtRoomNumber>>
Jdge: Calendar, 3
                                                                                                                                  FILED
                                                                                                                                  2/18/2022 12:44 PM
                                                                                                                                  IRIS Y. MARTINEZ
                                                                                                                                  CIRCUIT CLERK
                                               IN THE           CIRCUIT COURT              OF COOK      COUNTY                    COOK COUNTY, IL
                                            COUNTY DEPARTMENT - CHANCERY DIVISION                                                 2022CH01062
                                                                                                                                  Calendar, 3
                     ATHENA BITCOIN GLOBAL                                                   CIVIL NO.: 2022CH01062 16766936

                                            Plaintiff
                                                                                      BREACH OF FIDUCIARY DUTIES;
                                               v.                                         BREACH OF CONTRACT:
                                                                                      INTENTIONAL AND TORTIOUS
                 SHAUN OVERTON, ET AL.                                                  INTERFERENCE; DAMAGES:
                                                                                            EQUITABLE RELIEF
                                        Defendants
                                                                                              PLAINTIFF DEMANDS
                                                                                                 TRIAL BY JURY

                              MOTION          FOR APPOINTMENT                    OF A SPECIAL PROCESS                   SERVER



                          NOW       COMES           Ryan M. Cleys, an attorney for Plaintiff, and pursuant to the provisions of

                735    ILCS   5/2-202       moves       this    Honorable     Court   to    Appoint a Special       Process   Server      in   the

                above-entitled cause states:

                1.       That on information and belief all the Defendants in this captioned case are individuals and

                a corporation who are residents in the State of Texas as follows:

                         A.         Shaun     Overton          for himself and as part of the Conjugal Partnership with Jane
                         Doe-Overton resides at 1917 Sage Trail, Hurst, TX 76054;

                         B.     Jane Doe-Overton for herself and as part of the Conjugal Partnership with Shaun
                         Overton resides at 1917 Sage Trail, Hurst, TX 76054;

                         C      Shaun Overton in his personal and official capacity as Director of ROI Developers,
                         Inc. with principal office address at 615 W Harwood Rd., Hurst, TX 76054; and

                         D.     ROI         Developers,        Inc.   d/b/a   Accruvia      with   principal   office   address    at   615    W
                         Harwood Rd., Hurst, TX 76054, and mailing address at 6909 Wandering Way, Colleyville
                                                                                                              , TX
                         76034,
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     2.        Christopher Lee LaFountain is a qualified private process server outside of Cook County and


 licensed for process service in the State of Texas, number PSC-16473.

 3.            That on February 10, 2022 service was achieved by Christopher Lee LaFountain on the

 following defendants:

              A.          Shaun   Overton   for himself and as part of the Conjugal Partnership with Jane
              Doe-Overton;

              B.      Jane Doe-Overton, also known as Neidy Overton, for herself and as part of the
              Conjugal Partnership with Shaun Overton;

              LC.         Shaun Overton in his personal and official capacity as Director of ROI Developers,
              Inc.; and

              D           ROI Developers, Inc. d/b/a Accruvia.

4.            That in the interest of efficiency the Petitioner believes that the appointment of a special

process server will expedite the matters at hand.

5.           That such service of process has already been effectuated and, thus giving due notice to the

above-named defendants.

WHEREFORE,                 the Petitioner moves   this Honorable   Court to allow for service through a special

process server, pursuant to the provisions of 735 ILCS 5/2-202 and ratify the appointment of the

special process server mune pro tune to the date of service as such service has already been effectuated.

Respectfully Submitted, this 18th day of February, 2022.


/S/ Ryan Cleys
Attorney for the Petitioner
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                                                                        115 East Irving Park Rd. #936
                                                                        Streamwood, IL 60107
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                                                                        Rmcleys@gmail.com
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